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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   WESTERN DIVISION


 RAQUEL BELAN PONCE,                                    Case No. ____________________

         Plaintiff,                                     Iowa District Court for Cass County
                                                        Case No. LACV025503
 v.

 JOEL BRADFORD STANTON and J & J                         NOTICE OF REMOVAL
 MARTIN, INC.,

         Defendants.


       Pursuant to 28 U.S.C. sections 1332(a)(1), 1441(a), and 1446, Defendants Joel Bradford

Stanton and J & J Martin, Inc., hereby remove the action pending in the Iowa District Court

captioned Raquel Belan Ponce v. Joel Bradford Stanton and J&J Martin, Inc., Cass County No.

LACV025477, to the Western Division of the United States District Court for the Southern

District of Iowa. In support of this Notice of Removal, Defendants state as follows:

       1.       On February 20, 2018, Plaintiff commenced an action in the Iowa District Court

for Cass County, captioned Raquel Belan Ponce v. Joel Bradford Stanton and J&J Martin, Inc.,

Case No. LACV025477. A true and correct copy of the Original Notice and Petition is attached

as Exhibit A.

       2.       Pursuant to Local Rule 81(a)(1), copies of all other process, pleadings, and orders

filed in the state court action are attached as Exhibit B.

       3.       Pursuant to Local Rule 81(a)(2), Defendants state that there are no motions

pending in the state court action that will require resolution by this Court.

       4.       Pursuant to Local Rule 81(a)(3), Defendants provide the following information:
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       Counsel for Plaintiff                          Counsel for Defendants
       Joel Yunek                                     Matthew Eslick
       YUNEK LAW FIRM                                 LAW OFFICE OF GARY D.
                                                      GOUDELOCK, JR.
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       Mason City, IA 50402                           Des Moines, IA 50309
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       5.      Defendant J&J Martin, Inc., has been properly served.

       6.      On April 30, 2018, the undersigned accepted service on behalf of Joel Bradford

Stanton.

       7.      This Notice of Removal is being filed in the United States District Court for the

Southern District of Iowa, Western Division, the district and division in which the case is

pending.

       8.      This Notice of Removal is being filed within thirty days of Defendants’ receipt of

the Original Notice and Petition, as required by 28 U.S.C. § 1446(b).

       9.      This Court has original jurisdiction over this action under 28 U.S.C. § 1332(a)(1),

because this is an action between citizens of different States, and the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.

                                DIVERSITY OF CITIZENSHIP

       10.     Upon information and belief, Plaintiff was at all relevant times a resident of

Mason City, Cerro Gordo County, Iowa, thereby making her a citizen of the State of Iowa for

diversity purposes. See Exhibit C. See, e.g., Hrastich v. Advance Auto Parts, Inc., No. 4:14-cv-

22-JAR, 2014 U.S. Dist. LEXIS 92269, at *4-*5 (E.D. Mo. July 7, 2014) (“Although residence

alone is not the equivalent of citizenship, the place of residence is prima facie the domicile.”);

Diego Beekman Mut. Hous. Ass’n Hous. Dev. Fund Corp. Hdfc. v. Dish Network, L.L.C., No.

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15 Civ. 1094, 2016 U.S. Dist. LEXIS 33523, at *25 (S.D.N.Y. Mar. 15, 2016) (“‘[A]n

individual’s residence at the time a lawsuit is commenced provides prima facie evidence of his

domicile’ – which in turn determines citizenship.” (quoting Willis v. Westin Hotel Co., 651 F.

Supp. 598, 601 (S.D.N.Y. 1986))). Cf. Barricks v. Barnes-Jewish Hosp., No. 4:11-cv-

1386(CEJ), 2012 U.S. Dist. LEXIS 115434, at *6 (E.D. Mo. 2012 (“[F]ederal courts often

consider a class member’s last-known residence in ascertaining citizenship.”).

       11.     Defendant Joel Bradford Stanton is a citizen of the State of Kansas.

       12.     Defendant J&J Martin, Inc., is a corporation incorporated in the State of Kansas

with its principal place of business in Hugoton, Kansas.

       13.     Plaintiff is an Iowa citizen and Defendants are Kansas citizens. As a result, the

parties are completely diverse pursuant to 28 U.S.C. § 1332(a).

                                AMOUNT IN CONTROVERSY

       14.     Diversity jurisdiction under 28 U.S.C. 1332 also requires that the amount in

controversy, exclusive of interest and costs, be in excess of $75,000.00.

       15.     Iowa law prohibits a plaintiff from demanding a specific dollar amount in a

petition at law. See Iowa R. Civ. P. 1.403(1). However, upon information and belief, the

amount in controversy in this matter exceeds $75,000.00. Cf. id. R. 1.281(1)(a) (allowing for

expedited actions where a plaintiff certifies that the amount in controversy totals $75,000 or less;

Plaintiff did not select such an action). Accordingly, this Court has original jurisdiction over this

action under 28 U.S.C. § 1332(a).

       16.     Defendants will provide Plaintiff with prompt written notice of the filing of this

Notice of Removal as required by 28 U.S.C. § 1446(d) and will file a copy of this Notice of




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Removal with the Clerk of the Iowa District Court for Cass County, where the Petition was

originally filed.

        WHEREFORE, Defendants request that this action be removed from the Iowa District

Court for Cass County to the Western Division of the United States District Court for the

Southern District of Iowa.

                                                         Respectfully submitted,




                                                         Matthew R. Eslick         AT0002409
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                                                         ATTORNEY FOR DEFENDANTS

Original E-filed.

Copy via CM/ECF to:                                               CERTIFICATE OF SERVICE

                                          The undersigned hereby certifies that a true copy of the foregoing instrument was served
Joel J. Yunek                             upon one of the attorneys of record for all parties to the above-entitled cause by E-File on
                                          April 30, 2018.
10 North Washington Ave.
                                            /s/ Julie Sander
P.O. Box 270
Mason City, IA 50402-0270
641-424-1933
F: 641-424-1939
joel@masoncitylawyer.com

ATTORNEY FOR PLAINTIFF




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